         Case 1:21-cr-00032-DLF Document 101 Filed 02/08/22 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :       Crim. No. 21-cr-00032 (DLF)
                                               :
               v.                              :
                                               :
GUY WESLEY REFFITT,                            :
                                               :
                       Defendant.              :

         GOVERNMENT RESPONSE TO COURT ORDER REGARDING JURY
                     INSTRUCTION ON COUNT TWO

       The government submits the following comments in response to the Court’s instruction

during the pretrial conference on February 3, 2022, regarding certain portions of the government’s

proposed jury instruction on count two, obstruction of an official proceeding, in violation of 18

U.S.C. § 1512(c)(2). See ECF No. 86.

       A.      Nexus requirement

       The government has no objection to including a nexus requirement in the definition of

official proceeding in the second paragraph on page 3. The government proposes the following

language for this paragraph:

       An official proceeding need not be pending or about to be instituted at the time of
       the offense. If the official proceeding was not pending or about to be instituted, the
       government must prove beyond a reasonable doubt that the official proceeding was
       reasonably foreseeable to the defendant and that the natural and probable effect of
       the defendant’s conduct was to obstruct the official proceeding.

       B.      “Corruptly” definition

       The government respectfully submits that its proposed instruction for the definition of

corruptly correctly states the law and would be most understandable to a jury. The government

proposed this instruction for the definition of corruptly:




                                                   1
            Case 1:21-cr-00032-DLF Document 101 Filed 02/08/22 Page 2 of 5




       “Corruptly” means knowingly, with intent to obstruct or impede, and with
       consciousness of wrongdoing. “Consciousness of wrongdoing” means an
       understanding or awareness that what the person is doing is wrong, immoral,
       depraved, or evil. A person may act “corruptly” by using unlawful means or by
       having a wrongful purpose, or both.

       Not all attempts to obstruct or impede an official proceeding involve acting
       corruptly. For example, a political activist might call a representative in Congress
       and threaten to oppose her reelection and peacefully protest the representative in
       public spaces unless the representative votes in a congressional proceeding against
       taking action that the activist believes to be a waste of taxpayer money. The activist
       is acting with the intent to obstruct or impede the proceeding but is not necessarily
       doing so corruptly. By contrast, a political activist who obstructs or impedes a
       congressional proceeding by engaging in conduct such as offering illegal bribes,
       engaging in violence, committing fraud, or through other independently unlawful
       conduct, is acting corruptly.

The Court proposed the following instruction:

       Corruptly means to act knowingly, with consciousness of wrongdoing, with the
       specific intent to obstruct or impede. A person may act “corruptly” by acting with
       an improper purpose to accomplish either (1) an unlawful end or result by lawful
       or unlawful methods or means, or (2) a lawful end or result by some unlawful
       method or means.

       1.       The word specific before intent is not necessary. The jury must find that the

defendant intended to obstruct the proceeding. Indeed, the phrase “specific intent” is a legalistic

term that the Criminal Jury Instructions for the District of Columbia (“Redbook”) suggests

omitting. See Redbook, Instruction 3.101, comment (noting that the instruction for proof of state

of mind explicitly removes any reference to “specific intent”).

       2.       To the extent a juror would find it helpful to have a definition of “consciousness of

wrongdoing,” the government’s proposed instruction (“an understanding or awareness that what

the person is doing is wrong, immoral, depraved, or evil”) accomplishes that end by relying on

language from the Supreme Court’s decision in Arthur Andersen LLP v. United States, 544 U.S.

696, 706 (2005). Whatever ambiguity may inhere in some of those words individually, together

they give content to the term “consciousness of wrongdoing.”



                                                  2
            Case 1:21-cr-00032-DLF Document 101 Filed 02/08/22 Page 3 of 5




       3.        Although the Court’s proposed sentence about means/purposes largely reflects the

government’s proposal, it raises two concerns. First, it appears to imply that a defendant must act

with “improper purpose” to act corruptly even though the Court’s ruling in United States v.

Sandlin, No. 21-cr-88 (DLF), 2021 WL 5865006, at *11 (D.D.C. Dec. 10, 2021), held that

“corruptly” “encompasses both corrupt (improper) means and corrupt (morally debased)

purposes.” In other words, and as Judge Silberman pointed out, a person can corruptly endeavor

to obstruct a proceeding with a corrupt purpose, through corrupt means, or both. Id. (quoting

United States v. North, 910 F.2d 843, 942-43 (D.C. Cir. 1990) (Silberman, J., concurring in part

and dissenting in part)). Second, the Court’s proposed sentence may unnecessarily confuse the

jury through reference to an unlawful or lawful “end.” The government respectfully submits that

its proposal (“A person may act ‘corruptly’ by using unlawful means or by having a wrongful

purpose, or both.”) is both consistent with the Court’s ruling and more concise.

       4.        The paragraph providing examples of corrupt and non-corrupt conduct can further

assist the jury in defining the term corruptly, especially in light of the defense’s claim that the

word is vague.

       C.        Instruction about official proceeding as a matter of law

       This Court already explicitly held that Congress’s Joint Session to certify the Electoral

College vote is an “official proceeding” as a matter of law under 18 U.S.C. §§ 1512(c)(2) and

1515(a)(1)(B). See Dec. 29, 2021 Order (ECF No. 81) at 1 (adopting the reasoning from Sandlin,

2021 WL 5865006, at *3, on this point).

       The Court can instruct the jury on a question of law. See United States v. Ashton, 961 F.

Supp. 2d 7, 11 (D.D.C. 2013) (“[T]he jury does not have the power to determine pure questions of

law and a court is ‘permitted to instruct the jury on the law and insist that the jury follow his




                                                  3
          Case 1:21-cr-00032-DLF Document 101 Filed 02/08/22 Page 4 of 5




instructions.’”) (quoting United States v. Gaudin, 515 U.S. 506, 513 (1995)).            Indeed, the

defense’s proposed instruction for count two, quoting a model federal jury instruction, includes a

sentence in which the defense proposes the court state to the jury: “You are instructed that (e.g., a

federal grand jury investigation) is an official proceeding.” ECF No. 89 at 4. The parenthetical

can be easily modified to “Congress’s Joint Session to certify the Electoral College vote.”

         Because the status of a particular proceeding is a question of law for the Court rather than

a question of fact for the jury, the Court can—and should—instruct the jury as such.       See Third

Circuit Model Criminal Jury Instruction 6.18.1512A2, comment (instructing that under 18 U.S.C.

§ 1512, “[t]he question of whether the proceeding alleged and proved by the government is an

official proceeding is for the judge”).    With respect to Section 1512(c), the Seventh Circuit’s

pattern jury instruction suggests that the Court tell the jury what the term “official proceeding”

means.     See The William J. Bauer Pattern Criminal Jury Instructions of the Seventh Circuit at §§

1512 & 1515(a)(1) (“The term ‘official proceeding’ as used in Count[s] — means [name official

proceeding].”). The government’s proposal does just that: “As used in Count 2, the term ‘official

proceeding’ means Congress’s Joint Session to certify the Electoral College vote.”

                                                       Respectfully submitted,

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                                                  4
Case 1:21-cr-00032-DLF Document 101 Filed 02/08/22 Page 5 of 5




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                              5
